      Case 2:16-cv-09001-PAE Document 1 Filed 11/18/16 Page 1 of 8




Anthony J. Mavronicolas
Mavronicolas PC
415 Madison Avenue, 18th Floor
New York, New York 10017
Telephone: (212) 2536040
Facsimile: (212) 2026263
amavronicolas@ajm-law.com
Attorneys for Albtelecom Sh. A

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________

ALBTELECOM SH.A,                                  Civil No. 16-9001

                              Petitioner,


               V.                                 Petition to Confirm Foreign
                                                  Arbitration Award and Enter
                                                  Judgment

UNIFI COMMUNICATIONS, INC,

                              Respondent.

____________________________________


  PETITION TO CONFIRM A FOREIGN CONSENT ARBITRATION AWARD
                AND ENTER JUDGMENT THEREON


       Pursuant to the United Nations Convention on the Enforcement of Foreign

Arbitral Awards, 9 U.S.C. § 201, et. seq. and the United States Arbitration Act, 9 U.S.C.

§ 1, et. seq. Albtelecom SH.A (“Albtelecom”) Petitioner, through its undersigned

counsel, hereby petitions this Honorable Court for an order confirming the final consent

arbitration award (“Consent Award”) of the sole arbitrator Joachim Knoll of the ICC

International Court of Arbitration issued in Zurich Switzerland on September 2, 2015 and
      Case 2:16-cv-09001-PAE Document 1 Filed 11/18/16 Page 2 of 8




an order entering judgment in conformity with the aforesaid consent arbitration award

against the Respondent, UNIFI Communications Inc. (“UNIFI”)

         As grounds therefore, Petitioner states as follows:

                                THE PARTIES

         1.     Petitioner Albtelecom is a company organized and existing under the laws

of Albania, having its registered office at Autostrada Tirane-Durres, km 7, Kashar,

Tirana, Albania.

         2.     Upon information and belief, UNIFI is a corporation organized and

existing under the laws of New York, having places of business at 60 Broad Street, 38th

Floor, New York, NY 10004 and at 245 Park Avenue, 24th Floor, New York, New York,

10167.

                        JURISDICTION AND VENUE

         3.     This Court has subject matter jurisdiction over this Petition pursuant to

28 U.S.C. § 1331 as arising under the treaties of the United States. The Petition is an

action to enforce a foreign arbitration award under the United Nations Convention on the

Recognition and Enforcement of Foreign Arbitral Awards (“UN Convention”), 21 U.S.T.

2517 (1958). And pursuant to the Federal Arbitration Act, 9 U.S.C. 1 et. seq.: “… action

or proceeding falling under the Convention shall be deemed to arise under the laws and

treaties of the United States” for which this Court has: “ …original jurisdiction over such

an action or proceeding, regardless of amount in controversy” See 9 U.S.C. § 203.

         4.     Upon information and belief, UNIFI maintains at least two places of

business in Manhattan New York within this Judicial District so that venue is properly set




                                              2
      Case 2:16-cv-09001-PAE Document 1 Filed 11/18/16 Page 3 of 8




before this Court pursuant to 28 U.S.C. § 1391(b) where the final consent foreign

arbitration award may be confirmed and reduced to judgment. See also 9 U.S.C. § 204.

                       FACTS AND PROCEDURAL HISTORY

       5.      The relevant facts and procedural history in this matter have been set forth

in the contemporaneously filed Declaration of Christopher Bolen, counsel in Switzerland

for Albtelecom who represented Albtelecom in the arbitration in Switzerland which is the

subject of this Petition. (“Bollen Decl.”)

       6.      On August 8, 2006 Albtelecom and UNIFI, entered into a contract for the

provision of international telecommunications services. (Bollen Decl. ¶ 2)

       7.      The choice of law and choice of forum in the August 8, 2006 contract

provided:

               21. GOVERNING LAW AND DISPUTES:
               21.1 This Agreement shall be governed by the laws of Switzerland.
               21.2 The parties shall attempt in good faith negotiations to adjust
                     and dispose of any disagreement or dispute, which may arise
                     between them regarding the interpretation, the performance
                     of, or the failure to perform under this Agreement. Should an
                     agreement not be reached between the Parties, the dispute
                     shall be finally settled by arbitration according to the Rules of
                     Conciliation and Arbitration of the International Chamber of
                     Commerce (ICC) by one or more arbitrators appointed in
                     accordance with the said Rules. The arbitration shall be held in
                     Zurich (Switzerland) and shall be conducted in English language.
                    (Bollen Decl. ¶ 3)

       8.      With a dispute having arisen, on June 29, 2012 Albtelecom as Claimant

initiated arbitral proceedings against UNIFI as Respondent at the ICC International Court

of Arbitration claiming breach of the August 8, 2006 contract by UNIFI. (Bollen Decl. ¶

4) The arbitral tribunal was duly constituted on consent of the parties by the appointment

of Mr. Joachim Knoll as sole arbitrator on January 11, 2013. (Bollen Decl. ¶ 5) Neither




                                             3
      Case 2:16-cv-09001-PAE Document 1 Filed 11/18/16 Page 4 of 8




the validity of the arbitration agreement or the jurisdiction of the sole arbitrator were

contested by UNIFI. (Bollen Decl. ¶ 5)

       9.      On October 15, 2014 counsel for Albtelecom and UNIFI advised the sole

arbitrator that the parties were engaged in settlement discussions. (Bollen Decl. ¶ 13) On

April 17, 2015 counsel for both parties advised the sole arbitrator that a settlement

agreement had been entered into by the parties. (Bollen Decl. ¶ 14)

       10.     Four days later, on April 21, 2015 the parties asked the sole arbitrator “to

issue a Consent Award which shall in its general part (ground of the award) reproduce

the Settlement Agreement and in its decision (ruling) reproduce clause 2 as well as the

Annex of the Settlement agreement”. (Bollen Decl. ¶ 14)

       11.     On September 2, 2015 based on the Parties’ request, the sole arbitrator

issued a final Consent Award in which Albtelecom was awarded the amount of

EUR 1,088,000.00 which Unifi was to pay in 39 monthly installments. (Bollen Decl. ¶

19)

       12.      The final Consent Award awarded to Albtelecom the amount of

EUR 2,100,000 in one lump sum less any payments already made by UNIFI as provided

for in the Consent Award in the event that UNIFI fails to make the scheduled payments

on time and fails to cure that default. (Bollen Decl. ¶ 20) The Consent Award further

provides that all overdue payments would bear an interest rate of 2.5% per year. (Bollen

Decl.¶ 20)

       13.     No appeal has been taken from the September 2, 2015 Consent Award and

the time for taking any appeal has expired. (Bollen Decl. ¶ 18)




                                              4
      Case 2:16-cv-09001-PAE Document 1 Filed 11/18/16 Page 5 of 8




       14.     After the issuance of the Consent Award, Unifi made the September,

October and November installment payments in line with the Consent Award. UNIFI

thereafter failed to make any further payments and failed to cure its failure to pay as

provided for in the Consent Award. Altogether UNIFI has paid to Albtelecom a total

amount of EUR 396,000 pursuant to its payment obligations. (Bollen Decl. ¶¶ 21, 22 and

28)

       15.     The Consent Award should be confirmed and the amount of

EUR 1,704,000, entered as a judgment against UNIFI in the amount of EUR 2,100,000

awarded in the Consent Award, less the EUR 396,000 already paid by Unifi. (Bollen

Decl. ¶ 28). The Consent Award further provides that the EUR 1,704,000 awarded be

paid along with interest of 2.5% since December 15, 2016, the date upon which Unifi

failed to make its last installment payment. (Bollen Decl. ¶32).

GROUNDS FOR CONFIRMATION OF AWARD AND ENTRY OF JUDGMENT

       16.     Both the Untied States and Switzerland are signatories of the UN

Convention. 21 U.S.T. 25171 Article 1 of the UN Convention provides that it shall apply

to the recognition and enforcement of arbitration awards made in a nation other than the

nation where recognition is sought. The enabling legislation for the UN Convention first

provides that the UN Convention shall be enforced in the United States as provided for in

the enabling legislation codified in the United States Code. 9 U.S.C. § 201. The enabling

legislation further provides that arbitration awards arising out of a legal relationship

considered to be commercial fall within the UN Convention for the purposes of

recognition and enforcement. 9 U.S.C. § 202. Finally, the Federal Arbitration Act


1 Nations that joined the UN Convention by execution and ratification are found at 9
U.S.C. § 201 and online at http:/treaties.un.org

                                              5
      Case 2:16-cv-09001-PAE Document 1 Filed 11/18/16 Page 6 of 8




(“FAA”) is applied for the enforcement of the UN Convention in the United States. 9

U.S.C.§ 201.

       17.     The Court is empowered under the enabling legislation to enforce foreign

arbitration awards falling under the UN Convention:

               Within three years after an arbitral award falling under
               the Convention is made, any party to the arbitration
               may apply to any court having jurisdiction under this
               chapter for an order confirming the award as against
               any other party to the arbitration. The court shall confirm
               the award unless it finds one of the grounds for refusal
               or deferral of recognition or enforcement of the award
               specified in the said Convention. 9 U.S.C. § 207

       18.     In the matter before the Court this Consent Award arose out of a

commercial contract for the provision of telecommunication services between

Albtelecom and UNIFI. (Bollen Decl. ¶ 2) As a result of a breach of that contract

Albtelecom initiated arbitration proceedings against UNIFI in Switzerland as provided

for in the arbitration clause contained in that contract. (Bollen Decl. ¶ 3) That arbitration

concluded with the issuance in Switzerland of the Consent Award on September 2, 2015.

(Bollen Decl. ¶ 18) UNIFI did not appeal the Consent Award and the time for such an

appeal has expired. (Bollen Decl. ¶ 18)

       19.     Article 5 of the UN Convention set forth five limited grounds upon which

the recognition and enforcement of an arbitration award may be denied: 1. the arbitration

agreement was invalid or the party entering into that arbitration agreement lacked the

capacity to do so, 2. the party against whom the arbitration award is invoked was not

given adequate notice of the arbitration proceedings or denied an opportunity to present

its case, 3. the award is beyond the scope of the arbitration agreement from which it was

arbitrated, 4. the composition of the arbitral authority issuing the award was not in



                                              6
       Case 2:16-cv-09001-PAE Document 1 Filed 11/18/16 Page 7 of 8




conformity with either the arbitration agreement or the rules of law governing that

arbitration or 5. the arbitration award is not final. 21 U.S.T. 2517. None of those grounds

are present in the matter at bar. UNIFI participated in the selection of the arbitrator and

contested neither the validity of the arbitration agreement or the jurisdiction of the sole

arbitrator to hear the case. (Bollen Decl. ¶ 5) UNIFI, through counsel, fully participated

in the arbitration proceedings, agreed to the issuance of the Consent Award and had an

opportunity to comment and edit the final Consent Award that was ultimately issued.

(Bollen Decl. ¶ 6,9-12) No appeal has been taken from that September 2, 2015 Consent

Award and the time for doing so has expired. (Bollen Decl. ¶ 18)

        20.     Petitioner Albtelecom has now petitioned, and moves, within three years

from the issuance of the September 2, 2015 Consent Award for recognition and

confirmation of the Consent Award and entry of judgment against Respondent UNIFI.

                               PRAYER FOR RELIEF

        WHEREFORE, Petitioner respectfully requests the following relief:

        1        An Order confirming the September 2, 2015 final Consent Award issued

by the ICC International Court of Arbitration.

        2.      An Order entering Judgment against the Respondent UNIFI in the amount

of $1,805,693.21.

        3.      Interest of 2.5% per annum from December 15, 2015 on $1,805,693.21.

        4.      Additional interest to be accrued as of the entry of Judgment until such

time as it is paid.

        5.      The cost of these proceedings and reasonable attorney’s fees incurred by

Petitioner Albtelecom in these proceedings.




                                              7
      Case 2:16-cv-09001-PAE Document 1 Filed 11/18/16 Page 8 of 8




       6.      Any and all such other just and equitable remedies which the Court deems

appropriate.

New York, New York
November 18, 2016

                                    Respectfully Submitted

                                     /s/ Anthony J. Mavronicolas
                                     Anthony J. Mavronicolas
                                     Counsel for Albtelecom SH. A.
                                     415 Madison Avenue, 18th Floor
                                     New York, New York 10017
                                     (212) 2536040 Phone
                                     (212) 2026263
                                    amavronicolas@ajm-law.com




                                           8
